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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF ILLINOIS
                                 MINUTES OF EVIDENTIARY HEARING

   CASE NO. 12-cv-660-DRH                                DATE:    August 30, 2018
   PRESIDING: DAVID R. HERNDON, U. S. DISTRICT JUDGE
                                                     )   REPORTER:        Laura Esposito
   MARK HALE, et al.,                                )
                                                     )   COURTROOM DEPUTY:              Alex Francis
                                                     )
                   vs.                               )   TIME: 8:58 AM – 11:59 AM
                                                     )
   STATE FARM MUTUAL AUTOMOBILE                      )   BREAK: 10:18 AM – 10:32 AM
   INSURANCE COMPANY, et al.                         )


   Counsel for Plaintiffs: Robert Clifford, Steven Blonder, Thomas Thrash, Stephen Saltzburg,
                           Robert Nelson
   Counsel for Defendant State Farm: Ronald Safer, Michael Kenny, Patricia Brown Holmes,
                                         Matthew Crowl, Nick Kahlon
   Counsel for Defendant Murnane: Paul Veith and Andrew Chinsky
   Counsel for Defendant Shepherd: Russell Scott

   Parties are advised of issues with jurors #1, #2, and #10. The jurors will be questioned individually at
   8:00 a.m. on September 4, 2018.

   Show cause hearing is set for 8:00 a.m. on September 4, 2018. Elizabeth Cabraser and Sheila Birnbaum
   are required to be present. If the hearing is longer than 30 minutes, the additional time will be subtracted
   from the trial time of the party that is found in contempt.

   Parties present arguments on the remaining legal issues. The issues are ruled as stated on the record.

   There are no objections to the Court’s preliminary jury instructions. The attorneys will meet and confer on
   the remaining instructions.

   Anthony Martin, attorney for Justice Karmeier, present. Record made regarding Justice Karmeier’s
   testimony.




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